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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

In re:                                              Case No. 15-08570
Benito Rodriguez                                    Chapter 7
Maria Rodriguez

       Debtor.          /

   CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL REAL ESTATE
  SERVICES AND CENTURY 21 CARIOTI TO PROCURE CONSENTED PUBLIC SALE
                 PURSUANT TO 11 U.S.C. §§327, 328 AND 330

                 Arvind Mahendru, as Chapter 7 Trustee (the “Trustee”) for the above referenced

debtor (the “Debtor”), by and through the undersigned counsel, files this Application for entry of an

order, substantially in the form attached hereto as Exhibit A, authorizing retention of (1) BK Global

Real Estate Services (“BKRES”) under the terms set forth in the agreement (the “BKRES Agreement”)

attached to BKRES’ Affidavit of Disinterestedness at Exhibit B (the “BKRES Affidavit”) and (2)

Kavita Hanisha Uttamchandani of Century 21 Carioti (“Listing Agent”) under the terms of the

agreement (the “Listing Agreement”) attached to Listing Agent’s Affidavit of Disinterestedness at

Exhibit C (the “Listing Agent Affidavit”). In support thereof, the Trustee respectfully states as

follows:

                                       PRELIMINARY STATEMENT

                 Trustee requests approval to retain BKRES and Listing Agent, at no cost to the estate,

to negotiate with and persuade the first lienholder on certain real property in which the estate has no

equity to (1) allow Trustee to sell such property at the highest price that the market will bear, (2) waive

the resulting deficiency claim and (3) pay a 11 U.S.C. § 506 surcharge to provide a carveout for the

benefit of the estate and pay all other sale expenses, including a 6% brokerage commission that will

be shared equally by BKRES and Listing Agent only upon the closing of a sale that is approved by

this Court.
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               BKRES and its affiliates have proprietary technology and a national team of

experienced loan servicing specialists, asset managers, negotiators, trustee relation managers, real

estate brokers and agents, closing specialists and attorneys with extensive experience in procuring the

consent of mortgage lenders and servicers to sell over-encumbered properties and provide significant

cash recoveries to selling estates with no equity, through the Consented Sale™ process described

herein.

               The proposed agreements are attached and provide that BKRES and Listing Agent will

not be entitled to any compensation from the estate whatsoever under any circumstances. They will

only receive and share a customary brokerage commission that is paid by secured creditor as a 11

U.S.C. § 506 surcharge approved by this Court.

               The Trustee (1) believes that hiring BKRES and Listing Agent to pursue a Consented

Sale™ will likely result in secured creditor paying a carveout for the benefit of the estate with proceeds

from the public sale of an asset in which the estate has no equity and (2) expects to obtain Secured

Creditor’s agreement to a Consented Sale™, and bring a separate motion seeking this Court’s approval

of the procedures, terms and conditions by which the over-encumbered property will be sold, within

the coming months.

                                             JURISDICTION

               1.      This Court has jurisdiction to consider this Application pursuant to 28 U.S.C.

§§ 157 and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A),

(M), (N), and (O).

               2.      Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.




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                                                      BACKGROUND

                  3.         On 10/07/2015, the Debtor commenced this case by filing a voluntary petition

  for relief under Chapter 7 of the United States Bankruptcy Code.

                  4.         Thereafter, the Trustee was appointed as the Chapter 7 trustee in this case.

                  5.         The Trustee held and concluded the 341 meeting on 12/21/2017.

                  6.         The Debtor is the sole owner of real property located at 3019 Yorkshire Drive,

  Deltona, FL 32738 (the “Property”).

  7.          The Debtor’s schedules reflect that the Property value is $256,044, but is subject to a first

  mortgage lien (the “Senior Mortgage”) in favor of Bank of America (the “Secured Creditor”) in an

  amount exceeding $544,686.

                  8.          The Trustee, after reviewing certain materials, including (without limitation)

  the BK Score™1, sales analysis report and opinion of value for the Property provided by BKRES and

  Listing Agent, has determined it to be in the best interest of the Debtor’s estate and all creditors to

  negotiate to obtain Secured Creditor’s agreement and consent (“Consent”) to:

                a. sell the Property to whichever third party Trustee determines to have made the best

                       qualified offer during a public sale approved by the Court;

                   b. buy the Property from the Debtor’s estate if (and only if) no such offer is made;

                   c. release the Senior Mortgage and otherwise waive all of its claims against the estate

                         with respect to the Property (including any deficiency claims resulting from the

                         proposed sale); and




1 The BK Score™ is a 100-point rating that is generated by a proprietary algorithm from 10 unique property attributes in
order to consistently measure sales confidence and predict market value.

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              d. If the Property is sold to a third party, agree to a 11 U.S.C. § 506 surcharge to pay

                  all the expenses associated with the proposed sale, including the payment of a 6%

                  real estate brokerage commission to BKRES and Listing Agent and reimbursement

                  of their out-of-pocket expenses, and provide a carveout for the benefit of allowed

                  unsecured creditors of the Debtor’s estate;

              e. If Secured Creditor purchases property, agree to a 11 U.S.C. § 506 surcharge to pay

                  all the expenses associated with the proposed sale, including the payment of a 2%

                  real estate brokerage commission to BKRES, of which a $500.00 fee will be paid to

                  Listing Agent, and provide a carveout for the benefit of allowed unsecured creditors

                  of the Debtor’s estate.

             9.       Trustee expects BKRES and Listing Agent to obtain Secured Creditor’s

Consent and bring a separate motion seeking an order approving the sale of the Property (the “Motion

to Approve Sale”) within several months of the entry of the order sought by this Application.

           10.        By this Application, the Trustee requests authority pursuant to Sections 327,

328(a) and 330 of the Bankruptcy Code to (a) retain BKRES and Listing Agent to procure Secured

Creditor’s Consent, and (b) approve Secured Creditor’s payment of the fees described below directly

to BKRES and Listing Agent at closing of the sale of the Property, if and when the Consent and Motion

to Approve Sale are granted.

                                            APPLICATION




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            11.        Section 328(a) of the Bankruptcy Code provides, in relevant part, that a debtor

“with the court’s approval, may employ or authorize the employment of a professional person under

section 327...on any reasonable terms and conditions of employment, including on a retainer, on an

hourly basis, on a fixed percentage or fee basis, or on a contingent fee basis.” 11 U.S.C. § 328(a).

Section 330 of the Bankruptcy Code permits the Court to “award to a trustee… or a professional person

employed under section 327…(A) reasonable compensation for actual, necessary services rendered

[by such party]… and (B) reimbursement for actual, necessary expenses.” 11 U.S.C. § 330(a)(1).

Compensation will be determined later in accordance with 11 U.S.C. § 330.

            12.        As further described in the materials attached to their affidavits, BKRES and

Listing Agent have extensive experience obtaining the consent and agreement of mortgage lenders

and servicers to the sale of their collateral and resolution of any resulting unsecured claims in order to

produce a recovery for estates from over-encumbered assets in which the estate has no equity.

            13.        The Trustee believes that the highest and best value for the Property will be

generated through a sale in which the Property is widely marketed to the public and offered at the

highest price that the market will bear. The Trustee further believes that such a sale is in the best

interest of the Debtor’s estate, but can only be achieved if Secured Creditor’s Consent is first obtained.

That is why the Trustee believes that retaining BKRES and Listing Agent to obtain Secured Creditor’s

Consent is in the best interests of the Debtor’s estate.




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            14.        In no event will the estate have any obligation to pay BKRES or Listing Agent.

The terms of the BKRES Agreement and Listing Agreement provide that BKRES and Listing Agent

are only entitled to payment if and when (a) Secured Creditor grants its Consent, (b) the Motion to

Approve Sale is granted and (c) the Property is sold, in which event BKRES and Listing Agent will

receive and share a 6% real estate brokerage commission at closing in accordance with the order

approving the sale. BKRES and Listing Agent will not be entitled to any fees if Secured Creditors do

not grant its Consent or the Court does not grant the Motion to Approve Sale.

            15.        The Trustee submits that the terms of employment and compensation as set out

in the BKRES Agreement and Listing Agreement are reasonable in light of the extensive experience

of BKRES and Listing Agent and the nature of the services they provide.

            16.        BKRES attested that it is a disinterested person within the meaning             of

Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and

2016(a). Attached hereto as Exhibit B is an Affidavit of Disinterestedness of BKRES. BKRES also

attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee with any individual or

entity other than Listing Agent.

            17.        Listing Agent attested that it is a disinterested person within the meaning of

Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and

2016(a). Attached hereto as Exhibit C is an Affidavit of Disinterestedness of Listing Agent. Listing

Agent also attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee with any

individual or entity other than BKRES.


                                              CONCLUSION

       For the foregoing and all other necessary and proper purposes, the Trustee seeks the Court’s

authority to retain BKRES and Listing Agent in this case, and requests that the Court approve the
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  compensation arrangements set forth in the BKRES Agreement and Listing Agreement pursuant to

  Sections 327, 328(a) and 330 of the Bankruptcy Code.

  Date: January 18, 2018                               Respectfully submitted,


                                                       By: Arvind Mahendru
                                                       Arvind Mahendru
                                                       5703 Red Bug Lake Rd. #284
                                                       Winter Springs, FL 32708
                                                       Phone: (407) 504-2462

                            CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was sent
via US firs class mail to all parties listed below on January 24, 2018.

Benito Rodriguez, Maria Rodriguez , 1422 Canal Point Road, Longwood, FL 32750;

Shannon Keith Turner, Law Offices of Shannon Keith Turner, PA, PO Box 2067, Orlando, FL 32802




                                                    /s/ Arvind Mahendru
                                                    Arvind Mahendru




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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
In re:                                                          Case No. 15-08570
Benito Rodriguez                                                Chapter 7
Maria Rodriguez


       Debtor.               /

 ORDER AUTHORIZING THE CHAPTER 7 TRUSTEE TO RETAIN BK GLOBAL REAL
   ESTATE SERVICES AND CENTURY 21 CARIOTI TO PROCURE CONSENTED
           PUBLIC SALE PURSUANT TO 11 U.S.C. §327, 328 AND 330

       Upon the Notice and Application of Arvind Mahendru, the trustee in the above-captioned case

(“Trustee”), to Retain BK Global Real Estate Services and Century 21 Carioti to Procure Consented

Public Sale pursuant to 11 U.S.C. § 327, 328 and 330 (“Application”) [Docket No. ], the Court having

reviewed and considered the Notice, Application and the Affidavit of Disinterestedness and having

found good and sufficient cause appearing therefore and the same to be in the best interest of Debtor

and the creditors the Court hereby FINDS that:

           A. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(2).

           B. Venue of this Chapter 7 case and the Application is proper pursuant to 28 U.S.C. §§

       1408 and 1409.

           C. Notice of the Application was sufficient under the circumstances.

              Based upon the foregoing findings of fact, it is hereby

              ORDERED, ADJUDGED, AND DECREED that:

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             1.        The Application is hereby GRANTED.

             2.        Defined terms not otherwise defined herein have the meanings given to them in

the Application and the Affidavit.


             3.        The Trustee is authorized to retain and compensate BKRES and Listing Agent

to procure Secured Creditor’s Consent, and otherwise market and sell the Property, in Debtor’s

Chapter 7 case pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code, and Bankruptcy

Rules 2014 and 2016, in accordance with the terms and conditions set forth in the BKRES Agreement,

the Listing Agreement and this Order. BKRES and Listing Agent shall not split or otherwise share

their fees with any other person or entity.

             4.        BKRES and Listing Agent are disinterested persons within the meaning of

Bankruptcy Code Section 101(14).

             5.         BKRES and Listing Agent shall be compensated in accordance with the

BKRES Agreement and Listing Agreement, respectively, and such compensation shall not hereafter

be subject to challenge except under the standard of review set forth in Section 330 of the Bankruptcy

Code.

             6.        BKRES and Listing Agent shall be authorized to receive and retain their fees

from Secured Creditor at the successful closing of the sale of the Property without necessity of further

order of the Court. The estate shall, in no circumstance, be obligated to compensate BKRES or Listing

Agent in such event and BKRES and Listing Agent shall not have a claim against the estate for any

unpaid amounts. BKRES and Listing Agent, and anyone claiming by, through or under either of them,

shall only have recourse for recovering its fee to Secured Creditor. The estate shall have no liability

for any such claim.


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             7.       Notice of the Application was adequate and proper.

             8.        This Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation of this Order.

                                                 ###

Submitted By:
Arvind Mahendru
Chapter 7 Trustee
5703 Red Bug Lake Rd. #284
Winter Springs, FL 32708
Phone: (407) 504-2462




(Arvind Mahendru shall serve a copy of the signed Order on all interested parties and file with the
Court a certificate of service conforming with Local Rule ).




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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF' FLORIDA
                                                  Case No. 15-08570-KSJ
In re:
                                                  Chapter 7
Benito Rodriguez
Maria Rodriguez

         Debtors
                                               IN SUPPORT oF
   AFFrpAvrT oF KAVTTA HAI,USUA-UTTAMCHAITLANI
   @-ffi#*+f3?##"'#ryu2l


 STATE OF FLORIDA                       )
                                        )
 COUNTY OF Seminole                     )

                   Kavita Hanislra Uttamchandani, being duly swort,
                                                                    says:


                   l.IamarealestateagentdulylicensedbytheStateofFlorida.
                   Z.IamanagentofCentury2lCariotiaFloridaCorporation,with
                                                              32809 ("Listinq
                                             RA Ste 107 , Orlando'     FL
 corporate offices located at 1650 Sand Lake
 Agent").

                   3.IamfarniliarwiththeApplicatiorrtoRetainCentury2lCarioti,
 filedbytheTrustee(..Application,,)andthepropertydescribedtherein.

                   4.Ibelievetlratlamexperiencedandclualifiedtorepresentthe
                                                                located at 1422
            in connection with the marketing und   sale of.the reaf property
  Trustee
  CanalPointRoad,Longwood,FL32T50(the"Property")'
                       Century 2l Cariott has agreed to accept employment
                                                                              p"tt"l::^t:
                    5.                                         the  proposed_ commrsston
                                                           and
  the terms and conditi,on, ,", forth in the Application
                                       urJ tno*t.dge   of the real estate market' I believe
  structure. Based upon my experience
  that the commission structure propor.olo-ur
                                                 pul[ to Listing Agent does not exceed
                                            g.ogr'uphi"ul area and are reasonable fbr the
  customary .o*-ir.iorN in the uppii"abl"
  type of emPloYment ProPosed'

                    6.NeitherlnoranymemberofCentury2lCariotiholdorrepresent
   anyinterestadversetotheestatewithrespecttotlremattersforwhichwearetobe
                                                                of 1i u'S'C' $ 101(14)'    as
                     disinterest.d p"rsorr, *itt in the meaning
   employed and we are
   required bY $ 327(a).

                 l.Tothebestofmyinforrrrationandbelief,neitherlnortheother             other
   rlembers of this firm have any connection
                                             with the Debtors, their creditors' or any
                                                       1
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party in interest or their respective attomlvs_or accountantsi,lh.
                                                                   u. S' Trustee, or any
                                                       as required by Rule 2014 of the
person employed in the offi"e of the u.S. Trustee,
                                                           below'
irederal Ruies of Bankruptcy procedure except as set forth

                8.-IrepresentnointerestadversetotheDebtorsoritsestateinthe
matters upon which   I am to be engaged'

       FURTHER AFFIANT SAYETH NAUGHT.




The foregoing instrument was swom to and subscribed before
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             t -"
